Case 1:06-cV-00123-RFC Document 12 Filed 06/28/07 Page 1 of 1

F|LED
B|LUNGS D.'\./

nw 'uwza Pm g

PATR ex z~;. owing states
BY
DEPUTY cl_ERK

]N THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

BILL]NGS DIVISION
JAMES D. NUNLEY, )
) Cause No.: CV-06-123-BLG-RFC
Plaintiff, )
)
Vs. )
) ORDER OF DISMISSAL WITI-I
BILLINGS CLINIC, a corporation, ) PREJUDICE
)
Defendant. )
)

 

UPON ST[PULATION of the parties and good cause appearing therefore, it is hereby
ORDERED that the Within cause of action may and should be dismissed With prejudice, as
having been fully settled upon its merits, each party to pay its own costs and attorneys’ fees.

ORDERED this 28th day of June, 2007.

/ij_ saw

RICHARD F CEBULL `
United States District Judge

